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7/26/2014
BECKLEY CPA NOTES ON MR ALEX BITTNER (AB)

MEETING NOTES 20120210 | 8:00 AM | WITH AB | BY JAB | RE: 2012 TAXES/REPATRIATED EARNINGS

Alex Bittner had moved to the US in early 80s and had gained citizenship. 21 years ago he moved back to
his native Romania. In August 2011 he moved back to the US and had not filed any tax returns In the
interim period. In moving back to the US he has started a new company that will purchase residential
real estate and hold for rental purposes. He has several questions which are as follows:

1, Will Romantan corporate distributions be taxable in the US. (Most Likely- Will Research)
2. Are there any issues with not filing a tax return for 21. years while he was living and earning in
Romania?

3. Are there any FBAR requirements?
4, What will his 2011 tax return look like? He will have some gain on property sold Including primary
residence. Where they sold to unrelated party?

5. What are the tax Implication of company land sold for 800k (with tax basts of $100k)?

6. What are the tax Implication of primary residence sold for (1.2M (with tax basis of $800k)?
7. How will the Romanian tax treaty with US affect his tax situation?

8. What are the regulations for private Jending to low-income home purchasers?

Also, US company Is setup as a NV LLC (holding company) for real estate Investments. Company will also
set up a Texas series of LLCs for operating property management and will be responsthie for collecting

all rents.

DROP OFF: 20120210 | RCD JAB | DELIV AB { RE: Client Intake Form
Alex Bittner dropped off: Client Intake Form 1pg. LOC: In cllent's folder on the Y drive

. PHONE IN: 20120208 | 8:49AM | ~2MIN | RCD SLG | FROM AB | RE: Setting appointment date/time

Alex Bittner called and asked if he was scheduled for 9:30 this.morning. | told him we had him for
tomorrow afternoon. He said he had been corresponding with AMF but his internet went out so he
didn't finish setting up his appointment. ! set him up for tomorrow morning.

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